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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                            PRO MEMO

                                                                01/15/2020 11:00 AM
                                                                COURTROOM 6A, 6th Floor
HONORABLE KAREN JENNEMANN
CASE NUMBER:                                                    FILING DATE:
6:19-bk-04681-KJ                        7                         07/18/2019
Chapter 7
DEBTOR:                Brian Williams
                       Melody Williams
DEBTOR ATTY:           Stephen Caplan
TRUSTEE:               Carla Musselman
HEARING:
Motion by Trustee to Sell Property Free and Clear of Liens. Property description: 431 Park Lane, Lake Bluff, IL 60044 (Doc #24)
                      Trustee’s Report of Winning Bid (Doc #25)
                      Note: Discharged 10/22/19

APPEARANCES::
Kristin Henkel: Trustee Atty; Stephen Caplan: Dbtor Atty

 RULING:
Motion by Trustee to Sell Property Free and Clear of Liens. Property description: 431 Park Lane, Lake Bluff, IL 60044 (Doc #24)
- Trustee's Report of Winning Bid (Doc #25) - Granted; Order by Henkel.

Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




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